      Case 1:15-cv-07057-AJN-JLC Document 164 Filed 01/11/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       1.11.2021


  Securities and Exchange Commission,

                        Plaintiff,
                                                                                 15-cv-7057 (AJN)
                –v–
                                                                                      ORDER
  Tuzman, et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       The parties are instructed to submit a brief joint letter on or before January 15, 2021

updating the Court on the status of the proceedings before Judge Gardephe.



       SO ORDERED.

 Dated: January 7, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
